 Case: 4:20-cv-01605-AGF Doc. #: 30 Filed: 08/11/21 Page: 1 of 2 PageID #: 189




                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION

 VIVIAN YATES, individually and on
 behalf of all others similarly situated,

        Plaintiff,
                                                  CASE NO.: 4:20-CV-01605-AGF
 v.

 CONSUMER ADJUSTMENT COMPANY,
 INC.

       Defendant.
_______________________________________/

                           NOTICE OF PENDING SETTLEMENT

       PLAINTIFF, VIVIAN YATES, by and through her undersigned counsel, hereby submits

this Notice of Pending Settlement and states that Plaintiff, VIVIAN YATES, and Defendant,

CONSUMER ADJUSTMENT COMPANY, INC., have reached a settlement with regard to this

case. The parties will file appropriate dismissal documents with the Court.



                                 CERTIFICATE OF SERVICE



       I HEREBY CERTIFY that, on this 11th day of August, 2021, a true and correct copy of

the foregoing was filed with the Clerk of the Court and served on the parties of record using the

CM/ECF system.

                                              Respectfully submitted,

                                            /s/William Peerce Howard ____
                                            William Peerce Howard, Esquire (FBN 0103330)
                                            Admitted PHV
                                            The Consumer Protection Firm
Case: 4:20-cv-01605-AGF Doc. #: 30 Filed: 08/11/21 Page: 2 of 2 PageID #: 190




                                   401 E. Jackson Street, Suite 2340
                                   SunTrust Financial Center
                                   Tampa, Florida 33602
                                   (813) 500-1500
                                   Billy@TheConsumerProtectionFirm.com



                                   /s/ D. Todd Mathews___________
                                   D. Todd Mathews, Esquire
                                   Missouri Bar No.: 52502
                                   The Gori Law Firm, PC
                                   156 North Main Street
                                   Edwardsville, IL. 62025
                                   Telephone: (618) 659-9833
                                   Facsimile: (618) 659-9834
                                   todd@gorilaw.com

                                   Attorneys for Plaintiff and the Putative Class
